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                            UMTED STATES DISTRICT COURT
                                DISTRICT OF OREGON
                                  EI'GENE DIVISION

                                                   Case No.:         10-6282-HO
MONICA SCHUERKAMP,
                                                   COMPLAINT;
               Plaintiff,
                                                   FAIR DEBT COLLECTION PRACTICES
      vs,                                          ACT (15 USC $ 1692a, et seq.);

AFNI, INC.,                                        DEMAND FOR JI.IRY TRIAL

               Defendant.
                                 I. INTRODUCTION
      l.       This is an action for damages brought by an individual consumer for

Defendant's violations of th€ federal Fair Debt Collection Practices Act,            l5 U.S.C. $
1692, et seq. (hereinafter "FDCPA").




                                  II. JURISDICTION


      2.       PlaintifPs claim for violations of the FDCPA arises under 15 U.S.C.             $


1692k(d), and therefore involves a "federal question" pursuant to 28 USC $ 1331.


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                                           III.   PARTIES

       3.      Plaintiff, Monica Schuerkamp ('?laintiff'), is a natural peron residing in

Benton County, Oregon.

       4.      Defendant,        Afni, Inc., ('Defendant") is a corporation                 engaged   in   the

business    of collecting debts by use of the mails and telephone. Defendant regularly

attempts to collect debts alleged due another.




                                 IV. FACTUALALLEGATIONS
       5.      Defendant is a "debt coll€ctor" as defined by the FDCPA, 15 U.S.C.                           $


t692a(6\.

       6.      Plaintiffis   a   "consumer" as defined by the FDCPA, l5 U.S.C. $ 1692a(3).

       7.      All activities of Defendant set out             herein were undertaken in connection

with the collection ofa "debt "      as defined   by l5 USC $ 1692a(5).

       8.      Within the last year, Defendant took multiple actions in an attempt to

collect a debt from Plaintiff. Defendant's conduct violated the FDCPA in multiple ways,

including the following.

       9.      The debt Defendant attempted to collect from Plaintiffwas a debt originally

owed to DirecTV. It is not clear from the letter Plaintiff received who the current owner

ofthe debt is. (See Dun Letter of06/0U2010, attached hereto                  as   Exhibit   '?").
       10.     In a letter dated June 1,2010, Defendant falsely represented the character,

amount, or legal status of Plaintiffs debt by sending Plaintiff a dun letter for a debt she


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does not owe ($ 1692e(2XA)). (See              Exhibit'?').

        I   l.   Defendant failed to clearly state the name of the current creditor for lhe

alleged debt. The June          l,   2010, letter sent to Plaintiff states that the original creditor is

DirecTV and lisls DirecTv's address, but does not stat€ the identiry of the company to

whom the debt is owed (16929(a)(2)). (See Exhibit                       'A").
       12.       Defendant overshadowed the disclosures required by 15 USC $ 1692g(a)

during the thirty-day dispute period and made false threats within the same thirty-day

period, including threatening to report the alleged debt to Plaintiffs credit repod. (See

Exhibit     *A").   Besides overshadowing the disclosures required                  by   15   Usc $   1692g(a)

that appear in the letter, the threat in the letter to report the debt to credit bureaus was also

a threat to take ar action that cannot be taken, as it is not lawful to r€port inaccurate

information to      a   credit reporting agency ($ 1692g(b)             & $ 1692e(5)).

       13.       As a result of the            aforementioned violations, Plaintiff suffered and

continues to suffer injuries to Plaintiffs feelings, personal humiliation, embarrassment,

mental anguish and severe emotional distress.

       14.       Defendant intended          to   cause,   by means of the actions detailed above,

injuries to Plaintiffs feelings, penonal hurniliation, embarassment, mental anguish and

severe emotional distress.

       15.       Defendant's actions, detailed above, were undertak€n witlt extraordinary

disregard of, or indifference to, known or highly probable risks to purpoded debtors.

       16.       To the extent Defendant's actions, detailed in paragraphs 8-13, were carried


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out by an employee ofDefendant, that employee was acting within the scope ofhis or her

employment.




   COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

       17.     Plaintiffreincorporates by reference all ofthe preceding paragraphs.

       18.     The preceding paragraphs statf'            prima facie case for Plaintiff and against
                                                      ^
Defendant   for violations of the FDCPA, $$ 1692g(b), 1692e@)Q), 169245) &
t692e(2)(A).



                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfulty prays that judgment be entered against the

Defendant for the following:

      A.       Declaratory judgment that Defendant's conduct yiolated the FDCPA;

      B.       Actual damages pursuant to 15 USC 1692k;

      C.       Statutory damages pursuant to 15 U.S.C. $ 1692k;

      D.       Costs, disbursements and reasonable attomey's fees                for all   successful

claims, and any unsuccessful claims arising out ofthe same transaction or occurrence as

the successful claims, pursuant to 15 U.S.C. $ 1692k; and,

      E.       For such other and further reliefas may b€ just and proper.




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                               Dated this 26fr day ofAugust, 2010.




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